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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,
                                                  NO. 05-80955
      v.
                                                  HON. AVERN COHN
D-8 BRIAN RONELL GARETT,
D-19 BENJAMIN H. SMITH,

           Defendant.
________________________________/

       AMENDED ORDER PERMITTING CERTAIN FIREARMS TO BE
       BROUGHT INTO COURTHOUSE FOR USE AS TRIAL EXHIBITS

      This matter coming before the Court on the government’s motion, for the reasons

stated in the motion and pursuant to local Administrative Order 95-079, it is hereby

ordered that beginning November 27, 2007, all Deputy U.S. Marshals and Court Security

Officers shall permit the case agent Joseph Boley of the DEA in this case, and any other

special agent acting under the case agent’s supervision, to bring into the Theodore Levin

U.S. Courthouse the following firearms:

Exhibit No:          Exhibit:

528                  One .40 caliber Glock handgun

529                  One nine round loaded .40 caliber clip

530                  One H&K Smith & Wesson semi-automatic handgun

531                  Ammunition- .40 caliber and two magazines with .40 caliber bullets

576                  One Smith & Wesson .40 caliber semi-automatic handgun
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577                 One Smith & Wesson .357 caliber handgun

578                 One .22 caliber Derringer handgun

579                 Ammunition- .357, .40 and .22 caliber

613                 One (1) “Action Arms” .9 mm handgun with magazine

614                 Ten(10) handgun magazine clips

615                 One Springfield Armory . 45 caliber pistol

616                 One Sig Sauer model P229. 40 caliber handgun

617                 Ammunition- 9mm lugar, .45 caliber automatic and .40 caliber

684                 One(1) Jennings 9mm semi-automatic handgun (DEA to find)

685                 One(1) Glock 9mm semi- automatic handgun (DEA to find)

769                 One Glock Model 27 .40 caliber magazine and one blue key

794                 One Lorcin Model L25 .25 caliber semi-automatic handgun

795                 One Mossberg 12 gauge shotgun (DEA to find)

801                 One Mossberg 12 gauge shotgun

802                 Ten Remington 12 gauge shotgun shells

803                 One .40 caliber Firestar handgun

804                 One .40 caliber magazine with ten rounds

      It is also ordered that the firearms shall be handled in accordance with

Administrative Order 95-079, which provides in relevant part:

      2.     Upon arriving at the courthouse, the case agents bringing with
             them firearms to be admitted as exhibits in a scheduled trial
             will announce their intentions and present this court order to
             the Court Security Officers at the security screening posts.


      3.     Once notified, the Court Security Officer will escort the case
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              agents, along with the firearms, into the Marshals Service
              office where the firearms will be inspected and secured by
              Supervisory Deputy United States Marshals.

       4.     Once the firearms are determined to be safe, the Court
              Security Officer and the case agents will transport the
              firearms to the designated courtroom where the case agents
              will be responsible for the security of the firearms. For the
              duration of the trial, it will be the responsibility of the case
              agents to coordinate with the Marshals Service to facilitate the
              transport of the firearms by the case agents to and from the
              appropriate courtroom. During trial, the case agents will be
              responsible for the security of the firearms.

       5.     Once the trial is completed, this court order will expire and
              the firearms will be removed from the courthouse by the
              DEA.

       It is also ordered that the firearms may be stored with the DEA overnight and

during other breaks in the trial.



                                                 s/Avern Cohn
                                                 AVERN COHN
                                                 United States District Judge
Entered: November 27, 2007
